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                      UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA


MICHAEL MELVIN ET AL.,                       :
                                             :
                                             :
                      Plaintiffs,            :
                                             :
                              v.             :       Civil Action No. 21-3209 (PBT)
                                             :
INJUSTICE WATCH NFP doing                    :
Business as THE PLAIN VIEW                   :
PROJECT AND CITY OF                          :
PHILADELPHIA,                                :
                                             :
                      Defendants.            :


       DEFENDANT’S REPLY TO PLAINTIFFS’ RESPONSE IN OPPOSITION TO
                    DEFENDANT’S MOTION TO DISMISS

       On October 21, 2021 Plaintiffs filed an untimely Response in Opposition to the City’s

Motion to Dismiss (the “Response”) without leave of Court [ECF Nos. 17,18]. The City files

this brief reply memorandum in support of its Motion.

                                         ARGUMENT

  I.   First Amendment Claims

        As discussed below, the Facebook posts attached to the Motion to Dismiss were not

protected as a matter of law and the Court’s analysis could (and should) end there. However,

even if some of those posts published by PVP were protected, and even if some of those allegedly

protected posts formed the basis of their discipline—the Plaintiffs cannot plausibly argue that

“but for” the allegedly protected posts they would not have been terminated, especially when

weighed against the sheer number of clearly unprotected posts attributed to each Plaintiff. See

Mot. to Dismiss at Ex. C.



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          While the Pickering balancing test is fact-intensive, it is still one of law and can be

decided at this point based on the undisputed facts already on the record. 1 To reiterate, Plaintiffs

do not dispute they authored the posts attributed to them by the City in the Motion to Dismiss.

The City does not dispute (for purposes of the Motion to Dismiss only) that Plaintiffs wrote the

posts as private citizens and that the posts touched upon areas of public concern. Because the

parties do not dispute these first two factors, this Court need only decide if the Plaintiffs’ First

Amendment interests outweighed the potential disruption to PPD’s operational interests under

the Pickering balancing test.

          On this point (and contrary to Plaintiffs’ argument at pp. 11, 21-24), the City does not

need to prove—at any point in the case—that the posts actually caused disruption. 2 A showing of



1
    Other Courts have applied Pickering balancing at the pleadings stage. See Mot. to Dismiss at p.
    18, n.11; see also Garza v. Escobar, 972 F.3d 721, 728 (5th Cir. 2020) (where the reasonable
    inferences drawn from a complaint do not “plausibly show that the employee’s interests
    outweigh the employers . . . Pickering balancing can be performed at the motion-to-dismiss stage
    . . . . it would be ‘illogical to say that something is a question of law, and that it is reviewed de
    novo, yet it can never be decided on the pleadings.’” (quoting Weisbuch v. Cty. of Los Angeles,
    119 F.3d 778, 783 n.1 (9th Cir. 1997)); see also Phillips v. Cty. of Dallas, 781 F.3d 772 (5th Cir.
    2015) (Pickering analysis done on a 12(c) motion); Duke v. Hamil, 997 F. Supp. 2d 1291 (N.D.
    Ga. 2014) (on motion to dismiss, university police officer’s interest in Facebook post of
    confederate flag captioned with “It’s time to start another revolution” did not outweigh
    employer’s operational interests and maintaining public trust).
2
    Although not required to defeat Plaintiffs’ claims, City still maintains that the nationwide
    publication of the posts by the Plain View Project and Buzzfeed is in of itself sufficient to
    establish actual disruption. See Mot. to Dismiss at pp. 28-29. The PAC Report attached to the
    Complaint confirms that actual disruption occurred: “Residents of Philadelphia were quick to
    react to the posts and comments revealed by the PVP database. There were numerous protests,
    community meetings, and opinion pieces.” Compl. Ex. 2 (PAC Report at p. 2). Plaintiffs suggest
    that this Court should discount the disruption caused by the publication and the public reaction
    to the posts, stating “[c]learly there is discontent over the Plaintiffs’ Facebook postings, but that
    does not render their speech presumptively disruptive.” Response at p. 31. However, in this
    case, because the police department directly serves the public and has contact with them, the
    public’s reaction to the posts is extremely relevant to the disruptiveness analysis. See, e.g., Festa
    v. Westchester Med. Ctr. Health Network, 380 F. Supp. 3d 308, 318-19 (S.D.N.Y. 2019) (“Where
    a Government employee’s job quintessentially involves public contact, the Government may

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probable future disruption can satisfy the balancing test, so long as the employer’s prediction is

reasonable. See Waters v. Churchill, 511 U.S. 661, 673 (1994) (plurality opinion). Here, the

PPD based its disciplinary decisions on a reasonable prediction that racist, violent, and

Islamophobic speech would be disruptive—categories already substantiated as categorically

disruptive, as a matter of law, to police and fire departments in by several other courts (hence,

the “per se” language used in the Motion to Dismiss). See Mot. to Dismiss at pp. 21-30

(discussing in Pappas, Locurto, Sabatini, and Grutzmacher). Given the deference afforded to

police departments in particular to regulate disruptive employee speech, even at the pleadings

stage, the posts as alleged were disruptive. See Kelley v. Johnson, 425 U.S. 238, 246 (1976). As

such, the Court should find that the Plaintiffs’ Facebook posts attached in Exhibit C to the

Motion to Dismiss were unprotected as a matter of law and its First Amendment retaliation

analysis can end there. See, e.g., Fogarty v. Boles, 121 F.3d 886, 890 (3d Cir. 1997) (absent

plaintiff’s showing “protected” speech, he could not sustain a claim for First Amendment

retaliation). 3

         Plaintiffs argue the City cannot prevail because the PPD did not point to specific posts as

the basis for discipline, also noting that PVP published “other” posts by Plaintiffs (not attached

to the Motion to Dismiss) that may have potentially resulted in discipline. Even if this were true,



    take into account the public’s perception of that employee’s expressive acts in determining
    whether those acts are disruptive to the Government’s operations.”).
3
    Plaintiffs also argue that because the Facebook posts are “old” they were not “disruptive.” See
    Pl.’s Response at p. 27 (“[N]one of these postings is related temporally to the discipline actions
    against Plaintiffs and cannot reasonably be found to have disrupted the operations of the PPD.”)
    The age and attempted anonymity of the posts are considerations that have no bearing on
    whether the posts are disruptive to the PPD’s integrity and mission. The fact that the posts were
    found in 2019, nationally published, and subsequently discovered by PPD is the controlling
    consideration. When the posts gained national attention in 2019, the die was cast—upon their
    discovery, the Police Department could not, and did not, turn a blind eye.


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the Plain View Project published at least one, if not many, unprotected posts attributable to each

Plaintiff, as set forth in Exhibit C to the Motion to Dismiss. However, even if PPD did discipline

any of the plaintiffs for “protected” posts (which the City does not concede), the Plaintiffs cannot

plausibly argue that the PPD would have reached a different disciplinary decision if any alleged

“protected posts” were out of the picture. See Mt. Healthy City Sch. Dist. Board of Educ. v.

Doyle, 429 U.S. 274 (1977) (defendants may defeat retaliation claim if the same action would

have been taken in absence of the protected conduct). This Court does not need to ignore

common sense, Plaintiffs’ argument that some of their speech may be protected does not render

their claimed entitlement to relief plausible in this case. See, e.g., Muti v. Schmidt, 118 F. App’x

646, 649 n.1 (3d Cir. 2004) (nonprecedential) (“Typically, [the Mt. Healthy test] is a fact-based

inquiry not appropriate for the resolution upon a motion to dismiss. Nevertheless, we agree with

the District Court we can dismiss Muti’s claim as a matter of law because the detailed factual

allegations in the complaint demonstrate that his [protected] speech activity was not a substantial

motivating factor in his termination.”).

 II.      Fourteenth Amendment Due Process and Equal Protection Claims

       A. Plaintiffs do not have standing to assert a claim under the vagueness doctrine.

          Plaintiffs assert that they have standing to bring a Fourteenth Amendment claim because

the Social Media Policy under which they were punished was too vague for Plaintiffs to know

what conduct was forbidden and arbitrarily enforced. See Response at pp. 29-30. However,

Plaintiffs cannot establish standing under the vagueness doctrine because the Social Media

Policy has clearly defined parameters, which were undoubtedly violated by the Plaintiffs’

Facebook posts. See Section V.A. on pp. 31-33 of Defendant’s Motion to Dismiss. To the extent




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that Plaintiffs assert that the Police Department applied its Social Media Policy unevenly, uneven

application would not allow for a facial claim against the policy itself.

      B. Plaintiffs have not adequately alleged a violation of their procedural due process or
         equal protection rights.

          Much like their Complaint, Plaintiffs continue to repeat vaguely that PPD discharged

Plaintiffs “without any due process.” Response at pp. 1-2. Again, at no point do Plaintiffs

articulate specifically how they were deprived of notice and an opportunity for a hearing through

the well-established PPD (and still ongoing) grievance and arbitration procedures. See Mot. to

Dismiss at pp. 34-35.

          Plaintiffs’ equal protection claims also remain undeveloped. Although unclear, it seems

that Plaintiffs allege equal protection violations when compared to two different groups of

officers: (1) other officers who were flagged in the PVP database but “were given lesser

discipline” (referred to as the “PVP Officers”) and (2) officers not named in the PVP database

“but who made similar social media postings.” See Response at pp. 2, 16.

          First, with respect to the PVP Officers, Plaintiffs claim that the disciplinary metrics used

by the PPD in the wake of PVP’s mass exposé were unfair. To be specific, the PAC Report

labeled this metric as the “5/10 Metric” and described it as: “Anyone holding the rank of police

officer was eligible for serious discipline if they had 10 or more posts. Anyone holding a

supervisory rank was eligible for serious discipline if they had 5 or more posts. In addition to

this metric, the content of the posts and comments was also considered.” Response at pp. 12

(citing PAC Report at p. 18). 4 Even if this were the metric PPD used, this metric is not



4
    The PAC Report is attached as Ex. 2 to the Complaint. While the PAC Report criticized the “5/10
    metric” for focusing on number as opposed to quality of posts, this criticism alone (and Plaintiffs’
    unsupported opinion) does not render it fundamentally unfair so as to violate Plaintiffs’ due
    process or equal protection rights. In fact, the entire PAC Report advocated for harsher


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“arbitrary” or “capricious” (as Plaintiffs have described it) but rather provides a sliding scale of

discipline based on the number and severity of posts. It follows, then, that the PVP Officers who

had fewer disruptive posts cannot be considered a “similarly situated” class to sustain an equal

protection claim.

       Secondly, Plaintiffs did not sufficiently allege an equal protection claim with respect to

the second comparator group—mostly African-American officers not named in the PVP database

“but who made similar social media postings.” See Response at p. 16. Instead of articulating

why these officers are in fact “similarly situated” to them, Plaintiffs simply regurgitate the same

copied and pasted (and largely illegible) posts from their Complaint without further analysis.

Again, and as set forth in the Motion to Dismiss, these officers cannot be considered a “similarly

situated class” where Plaintiffs failed to even allege that the PPD knew these posts existed at the

time Plaintiffs were disciplined. Further, Plaintiffs failed allege municipal liability for these

equal protection claims under Monell because they did not articulate any established PPD policy

or custom that intentionally discriminates on the basis of race, religion, or political viewpoint.

Accordingly, and like their due process claims, Plaintiffs’ equal protection claims should be

dismissed.




 punishment for the involved officers and frequently noted how offensive and disruptive the
 officers’ posts were. See, e.g., PAC Report at p. 2 (“The PVP database revealed that some
 officers advertise beliefs that negatively impact their ability, or the public perception of their
 ability, to police equitably and carry out the PPD oath to serve with honor, integrity, and respect.
 Aside from the many obvious harms done, when the public loses trust in the police, it only makes
 a police officer’s job more difficult and less safe.” (emphasis added)); id. at p. 24 (“[A] stronger
 response from the Department with more officers punished more severely for discriminatory
 language, would have sent a stronger message about will and will not be tolerated by PPD
 leadership).


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III.      Plaintiffs abandoned their Second Amendment claims.

      As set forth in the City’s Motion to Dismiss, Plaintiffs’ Second Amendment claims are

squarely time-barred. See Mot. to Dismiss at p. 39-40. Because Plaintiffs failed to address this

argument in their Response, they have abandoned this claim and as such, this Court should

dismiss those claims with prejudice. See, e.g., Bordoni v. Chase Home Fin. LLC, 374 F. Supp. 3d

378, 384 (E.D. Pa. 2019) (“[f[ailure to address even part of a motion in a responsive brief may

result in that aspect of the motion being treated as unopposed.” (internal quotation marks and

citations omitted)); Levy-Tatum v. Navient Sol., Inc., 183 F. Supp. 3d 701, 712 (E.D. Pa. 2016)

(dismissing claims with prejudice where plaintiff failed to make substantive arguments against

dismissal). 5



                                                  Respectfully submitted,

                                                  CITY OF PHILADELPHIA
                                                  LAW DEPARTMENT

                                                  /s/ Meghan A. Byrnes        .
                                                  Meghan A. Byrnes
    Dated: November 9, 2021                       Deputy City Solicitor




5
    Lastly, Plaintiffs, assert that they are seeking “declaratory relief” for alleged violations of the
    Pennsylvania Constitution. Defendants first note that it is unclear specifically what sort of
    declaratory or injunctive relief is sought by the Plaintiffs. Second, to the extent that Plaintiffs
    seek compensatory or monetary relief for violations of the Pennsylvania constitution, those
    requests should be dismissed because the Pennsylvania Constitution does not establish a private
    cause of action for damages. Dooley v. City of Phila., 153 F. Supp. 2d 628, 663 (E.D. Pa. 2001);
    see also Jones v. City of Phila., 890 A.2d 1188, 1208 (Pa. Cmwlth. 2006), appeal denied, 909
    A.2d 1291 (Pa. 2006) (“To date, neither Pennsylvania statutory authority nor appellate case law
    has authorized the award of monetary damages for a violation of the Pennsylvania
    Constitution[.]”). As such, Plaintiffs’ claims under the Pennsylvania Constitution should be
    dismissed.

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